USDC IN/ND case 1:11-cr-00021-HAB-SLC               document 267        filed 03/07/13     page 1 of 1

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      CASE NO.: 1:11-CR-21-TLS
                                              )
JERMORRIS T. SEWELL                           )

                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 256] filed on February 19, 2013. The Defendant has waived objection to

the Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

Recommendation [ECF No. 256] in its entirety and accepts the recommended disposition. Subject to

this Court’s consideration of the Plea Agreement pursuant to Federal Rule of Civil Procedure 11(c),

the plea of guilty to the offense charged in Count 1 of the Superseding Indictment is hereby

accepted, and the Defendant is adjudged guilty of such offense.

       Any request for a sentence involving a departure under the United States Sentencing

Guidelines, or for a variance above or below a Guidelines sentence pursuant to 18 U.S.C. § 3553(a),

with the exception of matters raised pursuant to §5K1.1 of the Guidelines, shall be communicated to

the probation officer and opposing counsel, in writing, within fourteen (14) days following initial

disclosure of the pre-sentence report. Any sentencing memorandum addressing these or any other

issues, including requests for a departure based on § 5K1.1, shall be filed with the Court no later

than seven (7) days prior to the sentencing hearing. The notice of sentencing and pre-sentence

scheduling deadlines will be issued by separate order.

       SO ORDERED on March 7, 2013.

                                              s/ Theresa L. Springmann
                                              THERESA L. SPRINGMANN
                                              UNITED STATES DISTRICT COURT
